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Case 2:03-cr-20094-.]PI\/| Document 11

U.NTI'ED STATES D!S'.[`R,ICT COUR']`
}_')lSTRICT OF WESTERN TENNESSEE

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WSF MMM§_!M TN, :»¢En.».';nw_;,'g
misz HERNANDEZ
Defendant . r
x

 

  

TO the Honorable Court,

PLEASE '[`AKE NOTICE, that I, Carlos Pe!ez~Olivo the ammey for die above named
individuai, will informanter not be able to attend the above .matter, that has been scheduled for
tomorrow, Friday June 3“’, 2005, due to the film that 1 will be engaged on trial in New Y`orl;,
Queens Supreme Couxt on People vs. Oscar Sanchez, Docket # 229&97 , beii)re the Honomb]e
.Iudgc B. Kron. Criminal Term Part K? Coun Room 640, Te| #’s (718) 520-3493, 3650, 2259. I
apoiogize to this Honorable Court for my absence tomorrow and I respecddlly request diaz you
adjourn this matter to any date on or aher J unc 16“"' your Honorable Coun udshes to assign

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at 1131 235 zoos`s Q§§§L

'F;j"" Respectfuny Submiued_

 

Carl"os Penz~O!ivo

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l(ew Gardem;, N¥ 11415
Tol (718) 793-5327!1":1& (718} 793-2012

   

cc. .1 oeeph Murphy
Assistant United Statcs Attomcy

cc. Judy B. Palmer
U.S. Probation Officer

This document entered on the docket heet In egm lieuan / f
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ISTRIC COURT -WESTER D'S'TRCT oFTENNESSEE

Notice of Distribution

ThiS notice confirms a copy of the document docketed as number 112 in
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June 3, 2005 to the parties listed.

 

 

Carlos PreZ-Olivo

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Honorable J on McCalla
US DISTRICT COURT

